                        UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

IN RE:                                        §                       CASE NO. 18-10554
MAUREEN L ADAIR                               §
AKA MAUREEN ADAIR, MD                         §
   Debtor                                     §                              CHAPTER 11

      SELECT PORTFOLIO SERVICING, INC.’S WITNESS AND EXHIBIT LIST
           Hearing on Select Portfolio Servicing, Inc.’s Motion to Dismiss
                  and Debtor’s Objection to SPS’ Proof of Claim
                          January 17, 2019 at 10:30 a.m.

Witness List:

       1. Maureen L Adair, Debtor
       2. Linda Holmes, CDM Case Manager, Select Portfolio Servicing, Inc.

Exhibit List:

       See Attached




                                        -1-
Ex                     Description                     Offered   Objection   Admitted
 #
 1 Proof of Claim – Deutsche Bank NT/SPS filed on
   8/27/2018 in BK #18-10554 (Claim No. 9-1)
   Bankruptcy Adversary No. 06-1140 (Bankr.
   W.D. Tx)
 2 Docket Sheet, Adversary No. 06-1140
 3 Debtor’s Original Complaint to Invalidate or
   Determine Extent of Home Equity Lien filed
   3/28/2006 (Docket No. 1)
 4 Long Beach Mortgage/Washington Mutual Bank
   Proof of Claim, BK #05-19014 (Claim No. 2-1)
 5 Debtors’ Objection to Claim of Long Beach
   Mortgage Loan Trust 2001-2, BK #05-19014
   (Docket No. 19)
 6 Agreed Order Consolidating Objection to Claim
   with Adversary Proceeding entered 5/18/2006, BK
   #05-19014 (Docket No. 37)
 7 Defendants Original Answer to Debtor’s Original
   Complaint to Invalidate or Determine Extent of
   Home Equity Lien filed 5/15/2006, Adversary No.
   06-1140 (Docket No. 14)
 8 Corrected Affidavit of Maureen L. Adair filed
   9/12/2006, Adversary No. 06-1140 (Docket No.
   30)
 9 Order on Motion to Dismiss and for Summary
   Judgement entered 11/7/2006, Adversary No. 06-
   1140 (Docket No. 51)
10 Order Granting Judgment in favor of Defendants
   entered 11/29/2006, Adversary No. 06-1140
   (Docket No. 56)
   District Court Civil Proceeding No. 1:15-cv-
   00395-SS (W.D. Tx.)
11 Docket Sheet, District Court Civil Proceeding No.
   1:15-cv-00395-SS (W.D. Tx.)
12 Plaintiff’s First Amended Complaint against
   Deutsche Bank National Trust Company filed
   10/30/2015, Case 1:15-cv-00395-SS (Docket No.
   10)
13 Defendant's Answer to Plaintiffs' Amended
   Complaint, Case 1:15-cv-00395-SS (Docket No.
   13)
14 Order Granting Motion for Summary Judgment for
   Defendants entered 5/18/2016, Case 1:15-cv-
   00395-SS (Docket No. 21)
15 Judgment in favor of Defendants entered on
   5/18/2016, Case 1:15-cv-00395-SS (Docket No. 22)

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     BK Case #18-10554
16   Proof of Claim filed by Deutsche Bank NT/SPS on
     8/27/2018 (Claim No. 9-1)
17   Debtor’s “Objection to Proof of Claim [No. 9]
     Filed by Deutsche Bank National Trust Company
     as Trustee for Long Beach Mortgage Loan Trust
     2001-2” filed on 9/21/2018 (Docket No. 45)
18   SPS’ Response to Debtor’s Objection to Claim filed
     10/22/2018 (Docket No. 50)
19   SPS’ Motion to Dismiss Bankruptcy Case With
     Prejudice to Refiling filed 12/21/2018 (Docket No.
     57)
20   Claims Register (WDTX BK #18-10554)
21   Internal Revenue Service Proof of Claim (Claim
     No. 3-1)
22   Schedules filed 5/29/2018 (Docket No. 11)
23   Operating Report for August 2018 filed 9/25/2018
     (Docket No. 47)
     Documents
24   Travis County Appraisal District Valuation of
     2524 Spring Lane, Austin, TX for 2018
     ($1,310,354.00)
25   Broker Price Opinion (with comparable sales and
     listings) of 2524 Spring Lane, Austin, TX as of
     10/12/2018 ($1,040,000.00)
26   SPS Payoff good through 11/15/2018
     ($1,500,527.14 plus unposted fees, costs &
     advances)
27   Payment History (prior mortgage servicer records
     incorporated into SPS records)
28   Payment History (prior mortgage servicer records
     incorporated into SPS records)
29   Payment History (SPS)
30   Texas Home Equity Fixed/Adjustable Rate Note
     dated May 25, 2001
31   Texas Home Equity Security Instrument -
     Instrument #2001089580 recorded on 06/05/2001
32   Texas Home Equity Affidavit and Agreement -
     Instrument #2001089581 recorded on 06/05/2001
33   Assignment of Deed of Trust - Instrument
     #2011156908 recorded 10/26/2011
34   Notice of Servicing Transfer to Select Portfolio
     Servicing, Inc. effective May 1, 2013
35   SPS Notice of Default to Borrowers dated
     10/20/2013
36   SPS Notice of Acceleration to Borrowers dated
     9/26/2014

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37 SPS Reinstatement Notice to Borrowers dated
   10/24/2016
38 SPS Reinstatement Notice Borrowers dated
   3/6/2017
39 SPS Reinstatement Notice to Borrowers dated
   6/9/2017
40 SPS Reinstatement Notice to Borrowers dated
   3/6/2018



                                       Respectfully submitted,

                                       /s/ H. Gray Burks, IV
                                       H. Gray Burks, IV
                                       State Bar No. 03418320
                                       SHAPIROSCHWARTZ, LLP
                                       13105 Northwest Freeway, Suite 1200
                                       Houston, Texas 77040
                                       Tel: 713-462-2565
                                       Fax: 847-879-4856
                                       Attorneys for Select Portfolio Servicing, Inc. as
                                       mortgage servicer for Deutsche Bank National
                                       Trust Company formerly known as Bankers Trust
                                       Company of California, N.A., as Trustee for Long
                                       Beach Mortgage Loan Trust 2001-2




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the foregoing Witness and Exhibit List has been served
on the parties listed below, at the addresses indicated via electronic delivery or by deposit in the
United States Mail, first-class postage pre-paid on January 11, 2019.


 U.S. Mail                                             ECF/CM
 Maureen L Adair                                       Stephen W. Sather
 2524 Spring Lane                                      Barron & Newburger, P.C.
 Austin, TX 78703                                      7320 N MoPac Expy
 Debtor                                                Suite 400
                                                       Austin, TX 78731
 U.S. Mail                                             Attorney for Debtor
 John B. Hertenberger
 2524 Spring Lane
 Austin, TX 78703                                      ECF/CM
 Co-Debtor                                             US Trustee
                                                       Office of the US Trustee
                                                       903 San Jacinto Blvd, Suite 230
                                                       Austin, TX 78701
                                                       United States Trustee




                                              /s/ H. Gray Burks, IV
                                              H. Gray Burks, IV


Additionally, all exhibits are being sent by e-mail to: Stephen W. Sather at ssather@bn-
lawyers.com.




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